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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11
                                                      Case No. 20-10343 (LSS)
    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC,1


                                 Debtors.


            DECLARATION OF TANCRED SCHIAVONI IN SUPPORT OF
     CENTURY’S SUPPLEMENTAL SUBMISSION IN SUPPORT OF ITS JOINDER
    TO THE DEBTORS’ MOTION [DKT. 1145] AND OBJECTION TO THE PLEADING
      FILED BY THE ENTITY CALLING ITSELF THE “COALITION OF ABUSED
            SCOUTS FOR JUSTICE” [DKT. 1190] AND APPEARANCE OF
          BROWN RUDNICK AND BLANK ROME FIRMS ON ITS BEHALF

             I, Tancred Schiavoni, pursuant to 28 U.S.C. § 1746(2), under penalty of perjury, hereby

declare as follows:

             1.     I am partner at the firm O’Melveny & Myers LLP, Counsel for Century Indemnity

Company, as successor to CCI Insurance Company, as successor to Insurance Company of North

America and Indemnity Insurance Company of North America, Westchester Fire Insurance

Company, and Westchester Surplus Lines Insurance Company. I submit this declaration based on

my personal knowledge of the proceedings in In re Boy Scouts of America and Delaware BSA,

LCC, and review of the documents described below.




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Law, Irving, Texas 75038.


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       2.      A video titled “More Reports of Boy Scout Abuse Surface” posted to YouTube by

AskTheLawyers on August 21, 2019, displays a man in a newsroom, addressing the camera. A

transcript of the video, available on YouTube, follows:

               I’m Rob Rosenthal with AskTheLawyers.com and this is an
               AskTheLawyers.com legal brief. The number of children abused by leaders
               in the Boy Scouts of America is apparently even higher than first thought.
               That’s according to a group of lawyers suing the Boy Scouts that says they
               have uncovered hundreds of previously unreported cases of sexual abuse.
               Over the past several months, the organization Abused in Scouting has
               collected hundreds of reports from around the country from men between
               the ages of 14 and 88 who claim they were assaulted or harassed during
               their time in the scouts. One plaintiff in this lawsuit, referred to by his
               initials as SD to preserve his privacy, is being represented by one of the lead
               lawyers from Abused in Scouting, Philadelphia attorney Stewart Eisenberg
               of the law firm Eisenberg Rothweiler Winkler Eisenberg and Jack. He says:
               “There hasn’t been the attention that needs to be brought to this issue. It’s a
               widespread problem. It’s a problem where boys have been sexually abused
               and it’s difficult for men to come forward and break the silence and break
               their shame for what happened to them when they were children.” He goes
               on to say: “More attention has been placed on the Catholic Church and the
               religious organizations rather than scouting. And we hope to bring attention
               to the issue and focus on the victims who have suffered all these years.”
               Spurred by reports that the Boy Scouts organization is considering Chapter
               11 bankruptcy which would narrow the window in which victims could be
               compensated, Abused in Scouting began gathering information from
               alleged victims around the country. Eisenberg says this is just the first of
               many lawsuits against the BSA to come, and so far most of the victims are
               from Texas, California, and Florida. If you want the best information about
               alleged abuse in the Boy Scouts or you’re ready to choose a lawyer that
               lawyers, choose visit AskTheLawyers.com. I’m Rob Rosenthal and this has
               been AskTheLawyers.com legal brief.

Following the transcript, a disclaimer on the YouTube page states:

               Disclaimer: This video is for informational purposes only. In some states,
               this video may be deemed Attorney Advertising. The choice of lawyer is an
               important decision that should not be based solely on advertisements.

The video, transcript, and disclaimer are available at https://www.youtube.com/watch?

v=f0s7GsE-p_A (last visited Aug. 4, 2020).




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       3.      A video titled “Boy Scouts of America History of Abuse - Call for Free Case

Consultation - 1.888.99.SCOUT,” posted to YouTube by AVA Law Group on August 26, 2020,

was made private as of August 4, 2020. The video was reviewed when it was still publicly

available. A voice-over in the video states:

               The Boy Scouts of America could have done more to protect you. The BSA
               swore to protect children. Instead, they hid the tracks of pedophiles in the
               organization. For decades the BSA allowed Scouting leaders to molest
               children under their watch. Children as you as six were violently sodomized,
               groped, and raped by their Scoutmasters. Children were taught to respect
               adults in the Scouts, but these predators left young boys with broken lives
               and shattered trust. Experts say the number of sexual abuse cases in the Boy
               Scouts surpasses even that of the Catholic Church. Thousands of pedophiles
               within the organization got away with their crimes, and the BSA actively
               hid their tracks. For over a century, leaders in the Boy Scouts hid away
               sexual abuse reports in secret records call the “perversion files.” Very rarely
               were any of these reports shown to authorities who could actually help
               children. If you were sexually abused in the Boy Scouts of America, your
               time for justice is now. For years, Scouting abuse victims were ignored, but
               now the tides have turned in your favor. The BSA filed for bankruptcy in
               February of 2020 and are setting up a compensation plan for Scouting abuse
               survivors. The BSA bankruptcy court set a bar claims deadline for
               November 16, 2020. This means that after that date, no claims can be filed
               against the BSA for childhood sexual abuse. This deadline could be your
               last and only chance to hold the Boy Scouts accountable for their crimes
               against you. Survivors like you from across the country are coming forward
               to make their stories heard. Together, we can fight for your story, your
               rights, and your recovery. At Abused in Scouting, our attorneys fight to
               ensure scouting abuse survivors are heard, protected, and compensated for
               their abuse. The BSA was supposed to protect children from abuse, not turn
               them into broken adults. We’re here to make sure the BSA owns up to their
               actions and is held accountable for the crimes committed against you. File
               a claim against the Boy Scouts of America for your abuse, call the lawyers
               at Abused in Scouting now.

Attached hereto as Exhibit 1 are screenshots taken of the YouTube page for this video when the

post was still live, and after it was taken down.

       4.      Attached hereto as Exhibit 2 is a true and correct copy of the ABA Model Rules of

Professional Conduct Jurisdiction Rules Comparison Chart for Model Rule 7.1. The chart is




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available      at     https://www.americanbar.org/content/dam/aba/administrative/professional_

responsibility/mrpc_7_1.pdf (last visited Aug. 4, 2020).

       5.      A video titled “Boy Scouts History of Abuse,” posted to YouTube by AVA Law

Group on February 4, 2019, displays a disclaimer for approximately three seconds at the end of

the video. A screenshot of the disclaimer is attached hereto as Exhibit 3. The video is available

at https://www.youtube.com/watch?v=O90JfIRWJkY (last visited Aug. 4, 2020).

       6.      Attached as Exhibit 4 is an email from Eric R. Goodman to Tancred Schiavoni

dated September 6, 2020 regarding the depositions of Andrew Van Arsdale and Timothy Kosnoff.

       I declare under pain and penalty of perjury of the laws of the United States that the

foregoing is true and correct.




Dated: September 8, 2020                            Respectfully Submitted,



                                                    By: /s/ Tancred Schiavoni

                                                        TANCRED SCHIAVONI




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